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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS. CASE NO: 2:17-Cr-98-FtM-29CM

RYAN WILLIAMSON

 

ORDER

 

This matter comes before the Court on defendant's Motion to
Continue (Doc. #24) filed on November 3, 2017. The motion seeks
to continue the sentencing ourrently scheduled for December 4,
2017. The government does not oppose the request.

Accordingly, it is hereby

ORDERED:

Defendant's Motion to Continue (Doc. #24) is GRANTED. The
Clerk is directed to reschedule this matter by separate notice.

DONE and ORDERED at Fort Myers, Florida, this _j;;&{;ay of

November, 2017.

 

Copies:
Counsel of Record

